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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA, )
Plaintiff,
vs. CRIMINAL NO. 20-CR-30018-SMY
ZACHARY M. STAUFFER,
Defendant.
STIPULATION OF FACTS

The United States of Anontes by and through its attorneys, Steven Weinhoeft,
United States Attorney for the Southern District of Illinois, and Casey E. A. Bloodworth,
Assistant United States Attorney for said District, and the defendant, ZACHARY M.
STAUFFER, by and through his attorney, Ethan Skaggs, hereby stipulate pursuant to
§1B1.3 of the United States Sentencing Guidelines as follows:

I. In or about January, 2020, Agents with the Federal Bureau of Investigation
(hereinafter, “FBI”) were conducting a proactive investigation into the receipt and
distribution of child pornography. Specifically, Agents were conducting this proactive
investigation into a specific, identified website on the Tor Network, commonly referred

to as the “dark web.”

2 During this investigation, Agents received information from the FBI's Child
Exploitation Operations Unit that a specific IP address was recorded accessing this
targeted website on April 29, 2019, It was determined that this IP address resolved to

ZACHARY M. STAUFFER’S (hereinafter, “defendant”) residence in Salem, Illinois.

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3. On January 7, 2020, and again on January 27, 2020, FBI Special Agents
Raymond Hart and Adam Buiter arrived at the defendant’s residence in Salem, Illinois,
for the purpose of making contact with the defendant. Upon arrival, Agents met with
the defendant, who was the lone occupant of the residence on both occasions.

4. The defendant consented to an interview on both occasions, and during
those interviews, the defendant admitted to actively seeking out and viewing child
pornography from the internet. Specifically, the defendant admitted to accessing the
website which was the focus of the FBI’s investigation. The defendant admitted his
familiarity with the Tor Network and identified various websites used to download child
pornography. The defendant would access and view both images and videos depicting
child pornography.

5. Further, the defendant admitted he accessed the internet and the Tor
Network with the intent to view and download child pornography from 2016 to as early
as the day pirlon the first interview on January 7, 2020. Specifically, the defendant
admitted accessing a site titled “Hurt Meh” on the Tor Network. The defendant
acknowledged that this site contains child pornography, which he characterized as

“nastier” child pornography, including the “non-consensual” rape of children. Agents

familiar with this particular site know its contents to include hardcore child pornography,
many times involving the sadomasochistic abuse of children and infants. The defendant
admitted that an account was required to access “Hurt Meh,” and, over the course of a
year or so, the defendant had two such accounts. The defendant admitted he would
access this site a few times a week.

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6. The defendant admitted accessing the internet and visiting other sites for
the purpose of viewing child pornography. The defendant specifically identified a site
he visited titled “Rindexxx.” The defendant admitted he would use his home computer,
connected to the internet, to view the above mentioned sites.

7. In addition, the defendant admitted he would utilize his cell phone
connected to the internet to access and view child pornography outside of the Tor
Network.

8. The defendant specifically identified his interest as minor females, aged 4
to 12 years old. He gave agents specifics of a particular series of child pornography for
which he would search the internet. The child pornography the defendant viewed would
include children engaged in various sexual activities, to include oral sex and vaginal
intercourse. The defendant gave Agents consent to search his home and digital devices.
The defendant admitted using a “file shredding” application or software to delete child
pornography from his devices and indicated he would not save child pornography to his
digital devices. Subsequent review of the defendant’s computer, phone and other digital

devices did not yield any identifiable child pornography.

g, Satem is located in Marion County, Illinois, which is within the Southern
District of Illinois.
10. This stipulation of facts is intended only to provide the Court with a

sufficient foundation to accept the defendant's guilty plea. Accordingly, it does not set

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for all facts establishing the defendant's guilt which could be presented at trial; nor does

it contain all information known to the defendant about this or other criminal activity.

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So stipulated this 30” day of Marc __, 2020:
STEVEN WEINHOEFT
United States Attorney
9, Nua C4 ACDED
ZACHARY, STAUFFER CASEY E. A. BLOODWORTH
Defendant Assistant United States Attorney
ETHAN SKAGGS
Attorney for Defendant
3/26/2021
Date: peey Date: 5 bo/ 0 2/

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